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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                             NO. CR24-181 JHC
11                             Plaintiff,
12                        v.
                                                            ORDER GRANTING UNITED STATES'
13    DONEALE FEAZELL,
                                                            MOTION TO FILE OVER-LENGTH
14                             Defendant.                   BRIEF IN EXCESS OF 4,200 WORDS

15          The Court, having reviewed the Motion of the United States to File a Brief in
16 Excess of 4,200 words, Dkt. # 24, hereby enters the following order:
17          IT IS HEREBY ORDERED that the Motion is GRANTED. The United States
18 may file its Response to Defendant’s Motion to Suppress that does not exceed 5,047
19 words.
20          DATED this 10th day of March 2025.
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                                                       JOHN H. CHUN
23                                                     United States District Judge
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     Order Permitting Over-Length Brief - 1
     United States v. Feazell, CR24-181 JHC
